
51 So. 3d 592 (2010)
William C. SMITH, Appellant,
v.
Greg RISKA, Warden, and Walter A. McNeil, Secretary, Florida Department of Corrections, Appellees.
No. 1D10-2842.
District Court of Appeal of Florida, First District.
December 29, 2010.
William C. Smith, pro se, Appellant.
Bill McCollum, Attorney General, and Eric Neiberger, Assistant Attorney General, Tallahassee, for Appellees.
PER CURIAM.
In accordance with appellees' proper concession of error and motion to remand, the order of dismissal being appealed herein is reversed. The matter is remanded to the lower tribunal with directions to transfer the petition for writ of mandamus to the Circuit Court for the Second Judicial Circuit, in and for Leon County, for further proceedings. See Bush v. State, 945 So. 2d 1207 (Fla.2006).
REVERSED and REMANDED.
BENTON, C.J., VAN NORTWICK and ROBERTS, JJ., concur.
